Case 1:21-cr-00013-GNS-HBB       Document 313      Filed 04/28/25    Page 1 of 1 PageID #:
                                        4793




                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF KENTUCKY
                             AT LOUISVILLE
                           (Filed Electronically)

 CRIMINAL ACTION NO. 1:21-CR-13-GNS

 UNITED STATES OF AMERICA,                                                PLAINTIFF,

  vs.

 MIRSAD RAMIC                                                           DEFENDANT.

                                NOTICE OF APPEAL

        Notice is hereby given that Mirsad Ramic, the defendant in the above-

 referenced matter, hereby appeals to the United States Court of Appeals for the Sixth

 Circuit from the judgment and sentence entered herein on April 15, 2025 (R.308,

 Judgment).

                                                       /s/ Scott T Wendelsdorf
                                                       Federal Defender
                                                       200 Theatre Building
                                                       629 Fourth Avenue
                                                       Louisville, Kentucky 40202
                                                       (502) 584-0525
                                                       Counsel for Defendant

                                    CERTIFICATE

        I hereby certify that on April 28, 2025, I electronically filed the foregoing with
 the clerk of the court by using the CM/ECF system, which will send a notice of
 electronic filing to the following: Joshua Judd and Christopher C. Tieke, Assistant.
 United States Attorneys, and Kevin C. Nunnally, United States Department of
 Justice.

                                                       /s/ Scott T Wendelsdorf
